                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
v.                                          )       Case No. 14-4066-02-CR-C-BCW
                                            )
SARAH MARIE DUNCAN,                         )
                                            )
                      Defendant.            )

                                            ORDER

       Before the Court is Magistrate Judge Matt J. Whitworth’s Report and Recommendation

denying Defendant’s Motion to Quash Search Warrant and Suppress Evidence (Doc. #55).

Defendant filed Objections to the Report and Recommendation (Doc. #95). After an independent

review of the record, the applicable law, the parties’ arguments, and notwithstanding defendant’s

objections, the Court adopts the Magistrate’s findings of fact and conclusions of law.

Accordingly, it is hereby

       ORDERED that the Magistrate’s Report and Recommendation be attached to and made

part of this Order, and denies Defendant’s Motion to Quash Search Warrant and Suppress

Evidence.

       IT IS SO ORDERED.




DATED: February 25, 2016                            /s/ Brian C. Wimes
                                                    JUDGE BRIAN C. WIMES
                                                    UNITED STATES DISTRICT COURT




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